                               Case 2:18-cv-00510-JNP-PMW Document 1 Filed 06/26/18 Page 1 of 1

    JS 44 (Rvv. lttill 7)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet arul ~ information contained hcm:in neither replace nor 1111pplcmcnt the filing and llCl'Viee of pleadin.l;s or other papm as nl(IUired by law, uecpt as
provided bY, l?~a\rules of.~ This form, approved by the Judicial Conference of the United States in September 1974, is requ.inod for the use of the Clerk of Court for the
purpose of initialing the ctvil docket sheet. (SEE INS'l'RUCTIONS ON NEXT P4G£ OF THIS FORMJ
    I. (a) PLAINTIFFS                                                                                            DEFENDANTS
    Jose Moreno, Individually and On Behalf                                                                     PolarityTE, Inc.; Denver Lough; and Jeff Dyer
    of All Others Similarly Situated.
         (b) County ofR.efildencc ofFirstListedPlaiDtiff'              _Lo_s_An_...g._e_le.....s_ _ _ __          County of Residence of First Listed Defendant
                                      (EXCEJ>T IN U.S. PL41N1'1FF CISES)                                                                    (JN U.S. PUJNT1FF CASES ONLY)
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         (c)   Attorneys (FimName,.Addnss, and TeleplumaNlilllbq)

    David W. Scofield (4140), Peters Scofield, PC, 7430 Creek Road, Suite
    303, Sandy, UT 84093, 801-322-2002, dews@psplawyers.com

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                                                                                                                                    Assign. Date : 6/26/2018
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